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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                      Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                   Defendant.

  JOINT NOTICE IN RESPONSE TO THE COURT’S MINUTE ORDER OF 9/5/2019

       COMES NOW, the United States of America, by and through the United States Attorney

for the District of Columbia, and the defendant through his counsel, and file this joint notice in

response to the Court’s Minute Order of September 5, 2019. The parties agree that it would be

appropriate to modify defendant Richard Gates’s conditions of release to permit him to travel

within the United States by seeking advance permission of the Pretrial Services Agency, without

seeking the Court’s permission. In addition, counsel for the government has determined that the

Pretrial Services Agency is amenable to such a modification to the defendant’s conditions of

release. Accordingly, a proposed Order is attached.


                                             Respectfully submitted,

                                             JESSIE K. LIU
                                             UNITED STATES ATTORNEY

                                                     /s/
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                                                    /s/
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

              v.
                                                   Crim. No. 17-201-2 (ABJ)
 RICHARD W. GATES III,

                   Defendant.

                                        [PROPOSED]
                                          ORDER

       Upon consideration of the parties’ Joint Notice, and for good cause shown, it is hereby

       ORDERED that defendant Richard Gates may now travel within the United States after

seeking and receiving advance permission of the Pretrial Services Agency, and need no longer

seek the Court’s advance permission for domestic travel.



DATED:
                                                    The Honorable Amy Berman Jackson
                                                    United States District Judge
